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             7   Attorneys for Plaintiffs BMA LLC, Yaroslav Kolchin and Vitaly Dubinin

             8                                          UNITED STATES DISTRICT COURT
             9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                              SAN FRANCISCO DIVISION
           11
           12
                 BMA LLC, Yaroslav Kolchin and Vitaly                    Case No. 3:20-cv-03345-WHO
           13    Dubinin,

           14                                                            PLAINTIFFS’ EXHIBITS 1-17 TO
                                         Plaintiff,                      JOINT CASE MANAGEMENT AND
           15                                                            FEDERAL RULE OF CIVIL
                                                                         PROCEDURE 26(f) CONFERENCE
           16                                                            STATEMENT
                                 v.
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           18
                 HDR Global Trading Limited (A.K.A.                      Date: August 18, 2020
           19    BitMEX), ABS Global Trading Limited,                    Time: 2:00 p.m.
                 Arthur Hayes, Ben Delo and Samuel Reed,                 Ctrm: 2 – 17th Floor
           20                                                            Judge: Honorable William H. Orrick

           21                            Defendants.

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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS           EXHIBITS TO JOINT CMC STATEMENT                -1-       BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                  Document 39     Filed 08/11/20             Page 2 of 2



             1   TO THE HONORABLE COURT:
             2          In view of Defendants’ counsel refusal to file Plaintiffs’ Exhibits 1-17 to Parties’ JOINT
             3
                 CASE MANAGEMENT AND FEDERAL RULE OF CIVIL PROCEDURE 26(f)
             4
                 CONFERENCE STATEMENT, Plaintiffs hereby file the aforesaid Exhibits 1-17 separately for
             5
                 the benefit of the Honorable Court.
             6
             7   Dated: August 11, 2020                                  Respectfully submitted,
             8                                                           By:        /s/ Pavel I. Pogodin
             9                                                                      Pavel I. Pogodin

           10                                                            CONSENSUS LAW
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                                                                         Kolchin and Vitaly Dubinin
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CRYPTOCURRENCY
  ATTORNEYS            EXHIBITS TO JOINT CMC STATEMENT             -2-         BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
